4:22-cv-03253-JMG-MDN   Doc # 1-1   Filed: 11/23/22   Page 1Filed
                                                              of 17   - Page ID # 5
                                                                  in Lancaster District Court
                                                                      *** EFILED ***
                                                             Case Number: D02CI220003260
                                                               Transaction ID: 0018906175
                                                        Filing Date: 09/22/2022 09:20:20 AM CDT




                                                                     EXHIBIT
                                                                          A
4:22-cv-03253-JMG-MDN             Doc # 1-1        Filed: 11/23/22     Page 2 of 17 - Page ID # 6




        7.      In August 2017, Plaintiff was hired by Defendant as a Quality Assurance

Inspector.

        8.      Plaintiff was repeatedly subjected to harassment based on his race.

        9.      On or around January 2021, a second shift employee whose name is unknown,

told the Plaintiff he wishes that the Plaintiff would put on antlers and run through a field so he

could shoot the Plaintiff.

        10.     On or around June 2021, Plaintiff was harassed by multiple coworkers. These

employees started joking that they were never able to find Plaintiff around the facility. Plaintiff

noticed that they were watching him and conducting surveillance on Plaintiff for management

regarding his breaks. They would then report to the production supervisor.

        11.   | Onor about June 2021, the Plaintiff was harassed by an employee. This employee

harassed the Plaintiff regarding the music he was playing, he told the Plaintiff the music needed

to be turned off and that the music was “trash”. The employee also proceeded to refer to the

Plaintiff using racial slurs. This harassment occurred several times per week.

        12.     On or about June 2021, the Plaintiff issued a complaint to human resources,

stating that he had been subjected to racial harassment.

        13.     Onor about July 2021,   Plaintiff followed up with human resources regarding the

complaint he filed.

        14.     Onor about July 2021, Plaintiff filed a complaint with the plant manager, stating

that he had been subjected to racial harassment.

        15.     Onor about August 1*', 2021, the Plaintiff verbally complained to his supervisor,

stating that he had been subjected to racial harassment.

        16.     Onor about August 2, 2021, the Plaintiff was discharged.
4:22-cv-03253-JMG-MDN              Doc # 1-1      Filed: 11/23/22       Page 3 of 17 - Page ID # 7




        17.      Another employee, a white man, had previously been reprimanded for creating a

hostile work environment but was not terminated.

        18.    __ Plaintiffs
                           job performance was satisfactory.

        19.      Plaintiff was subjected to adverse terms, conditions, and privileges of

employment due to his race and/or color and/or in retaliation for engaging in one or more

protected activities.

        20.       <Asaresult of the Defendant’s unlawful actions, Plaintiff has sustained lost wages

and the value of job-related benefits, complete loss of coverage under COBRA and will incur

future lost wages and the value of job-related benefits into the future. Plaintiff has also sustained

compensatory damages as a result of the Defendant’s unlawful conduct.

        21.      All of the aforementioned illegal acts and conduct were done while the

Defendant’s employees, officers, and/or directors were acting in the scope and course of their

employment with the Defendant.

        22.      Defendant’s conduct was willful and/or reckless. Punitive damages are

appropriate.

                                        COUNT I

        Plaintiff incorporates paragraphs | through 18 as if fully set forth herein.

        23.      Plaintiffs race and/or color was a motivating factor in the Defendant’s decision to

subject the Plaintiff to adverse terms, conditions, or privileges of employment, including, but not

limited to terminating his employment, making offensive racial comments, subjecting the

Plaintiff to different reprimands than similarly situated white employees, and other

discriminatory acts set forth herein and as to be revealed in discovery.    Said conduct is violative
4:22-cv-03253-JMG-MDN             Doc # 1-1      Filed: 11/23/22       Page 4 of 17 - Page ID # 8




of the Nebraska Fair Employment Practices Act, Title VII of the Civil Rights Act (as amended),

and 42 U.S.C. Section 1981.

       24.      Asadirect, proximate result of Defendant’s aforementioned illegal conduct,

Plaintiff has suffered compensatory damages, lost wages, the value of job-related benefits and

Plaintiff will continue to incur said damages into the future.

       25.      Due to Defendant’s willful and/or reckless conduct, punitive damages are

appropriate under federal law.

                                       COUNT II

       Plaintiff incorporates paragraphs 1 through 21 as if fully set forth herein.

       26.      After Plaintiff engaged in one or more protected activities, Defendant retaliated

against Plaintiff by terminating his employment. Said conduct is violative of the Nebraska Fair

Employment Practices Act, Title VII of the Civil Rights Act (as amended), and 42 U.S.C.

Section 1981.

       27.      Asadirect, proximate result of Defendant’s aforementioned illegal conduct,

Plaintiff has suffered compensatory damages, lost wages, the value of job-related benefits and

Plaintiff will continue to incur said damages into the future.

       28.      Due to Defendant’s willful and/or reckless conduct, punitive damages are

appropriate under federal law.

                                       COUNT III

       Plaintiff incorporates paragraphs | through 24 as if fully set forth herein.

       29.      The racially offensive comments and conduct Plaintiff was subjected to by

Defendant was sufficiently patterned and/or pervasive to create a hostile working environment.
4:22-cv-03253-JMG-MDN             Doc # 1-1       Filed: 11/23/22      Page 5 of 17 - Page ID # 9




         30.    Asadirect, proximate result of Defendant’s aforementioned illegal conduct,

Plaintiff has suffered and will continue to suffer compensatory damages.

         31.    Due to Defendant’s willful and/or reckless conduct, punitive damages are

appropriate under federal law.

         WHEREFORE, Plaintiff respectfully requests that this Court assume jurisdiction herein

as to all counts alleged herein and grant the following relief:

         a.     Declare the conduct of the Defendant to be violative of the rights of the Plaintiff

under the appropriate state or federal laws;

         b.     Direct the Defendant to reinstate the plaintiff to the position which he held with

all back pay, all the job-related benefits and job-related increments to which he is entitled,

including interest thereon, or to find that reinstatement is not appropriate and to award him back

pay and front pay according to law;

         c.     Award the Plaintiff compensatory damages for pain, suffering, inconvenience,

humiliation and emotional distress in an amount to be determined by the jury;

         d.     Award the Plaintiff punitive damages under federal law;

         e.     Enjoin the Defendant from any further discrimination or retaliation against the

Plaintiff;

         f.     Award the Plaintiff costs and reasonable attorney’s fees and such other and

further relief as the Court deems just and reasonable and appropriate to correct the wrong done to

him.




                                                       JOSHUA BUSBY, Plaintiff
4:22-cv-03253-JMG-MDN       Doc # 1-1    Filed: 11/23/22   Page 6 of 17 - Page ID # 10




                                                i727   ma
                                        Vincent
                                              M1. Powers    #15866
                                        POWERS LAW
                                        411 South 13% Street, Suite 300
                                        PO Box 84936
                                        Lincoln, NE 68501-4936
                                        402/474-8000
                                        Powerslaw@me.com




                            REQUEST     FOR JURY TRIAL

       Plaintiff requests jury trial to be held in Lincoln, Lancaster County,
 Nebraska.
4:22-cv-03253-JMG-MDN          Doc # 1-1       Filed: 11/23/22   Page 7Filed
                                                                        of 17in -Lancaster
                                                                                  Page IDDistrict
                                                                                           # 11 Court
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                                                                         Case Number: D02CI220003260
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       IN THE DISTRICT COURT OF LANCASTER COUNTY, NEBRASKA

     JOSHUA BUSBY,                         )        CASE NO.
                                           )
                  Plaintiff,               )
                                           )               PRAECIPE
           v.                              )
                                           )
     MIDLANDS PACKAGING                    )
     CORPORATION,                          )
                                           )
                  Defendant.               )


     To the Clerk of Said Court:

           Please issue a summons in the above captioned matter and return
     the same to Plaintiff’s attorney for service upon the Defendant by certified
     mail:

     Midlands Packaging Corporation
     c/o Patrick D. Timmer, Registered Agent
     5825 South 14th Street, Suite 200
     Lincoln, NE 68512




                                           JOSHUA BUSBY, Plaintiff,

                                           /s/ Vincent M. Powers
                                           Vincent M. Powers #15866
                                           POWERS LAW
                                           411 South 13th Street, Suite 300
                                           PO Box 84936
                                           Lincoln, NE 68501-4936
                                           402/474-8000
                                           powerslaw@me.com
 4:22-cv-03253-JMG-MDN       Doc # 1-1   Filed: 11/23/22     Page 8 of 17 - Page ID # 12
Image ID:
D00664779D02                                                            Doc. No.    664779

               IN THE DISTRICT COURT OF LANCASTER COUNTY, NEBRASKA
                      575 S. 10th Street - 3rd Floor
                      SEPARATE JUVENILE COURT-4th Floor
                      Lincoln             NE 68508


Joshua Busby v. Midlands Packaging Corporation
                                                                   Case ID: CI 22   3260


TO:   Midlands Packaging Corporation




You have been sued by the following plaintiff(s):

      Joshua Busby




Plaintiff's Attorney:    Vincent M Powers
Address:                 411 S 13th St Ste 300
                         P.O. 84936
                         Lincoln, NE 68501-4936
Telephone:               (402) 474-8000

A copy of the complaint/petition is attached. To defend this lawsuit, an
appropriate response must be served on the parties and filed with the office of
the clerk of the court within 30 days of service of the complaint/petition. If
you fail to respond, the court may enter judgment for the relief demanded in the
complaint/petition.

Nebraska Supreme Court Rule 2-208 requires individuals involved in a case who
are not attorneys and representing themselves to provide their email address to
the court in order to receive notice by email from the court about the case.
Complete and return the attached form to the court if representing yourself.


Date:   SEPTEMBER 22, 2022     BY THE COURT:
                                                           Clerk




                                  Page 1 of 2
 4:22-cv-03253-JMG-MDN     Doc # 1-1   Filed: 11/23/22   Page 9 of 17 - Page ID # 13
Image ID:
D00664779D02                                                       Doc. No.    664779

PLAINTIFF'S DIRECTIONS FOR SERVICE OF SUMMONS AND A COPY OF THE
COMPLAINT/PETITION ON:

         Midlands Packaging Corporation
         % Patrick Timmer-Registered Agent
         5825 S 14th St, Ste 200
         Lincoln, NE 68512

Method of service:   Certified Mail

You are directed to make such service within ten days after the date of issue,
and file with the court clerk proof of service within ten days after the signed
receipt is received or is available electronically, whichever occurs first.




                              Page 2 of 2
        4:22-cv-03253-JMG-MDN     Doc # 1-1   Filed: 11/23/22   Page 10 of 17 - Page ID # 14


                                                                           Doc. No.   664779

                                 LANCASTER DISTRICT COURT
                             575 S. 10th Street - 3rd Floor
                             SEPARATE JUVENILE COURT-4th Floor
                             Lincoln             NE 68508
    To:
    Case ID: CI 22    3260 Busby v. Midlands Packaging Corporation




To: Midlands Packaging Corporation             From: Vincent M Powers
    % Patrick Timmer-Registered Agent                411 S 13th St Ste 300
    5825 S 14th St, Ste 200                          P.O. 84936
    Lincoln, NE 68512                                Lincoln, NE 68501-4936
4:22-cv-03253-JMG-MDN           Doc # 1-1       Filed: 11/23/22   Page 11Filed
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       IN THE DISTRICT COURT OF LANCASTER COUNTY, NEBRASKA

     JOSHUA BUSBY,                          )         CASE NO.    CI22-3260
                                            )
                   Plaintiff,               )
                                            )           ALIAS PRAECIPE
            V.                              )
                                            )
     MIDLANDS PACKAGING                     )
     CORPORATION,                           )
                                            )
                   Defendant.               )


     To the Clerk of Said Court:

            Please issue a summons in the above captioned matter and return
     the same to Plaintiff’s attorney for service upon the Defendant by certified
     mail:

     Midlands Packaging Corporation
     c/o Patrick D. Timmer, Registered Agent
     5825 South 14" Street, Suite 200
     Lincoln, NE 68512




                                            <s')               eee

                                            Vincent M. Powers #15866
                                            POWERS       LAW
                                            411 South 13" Street, Suite 300
                                            PO Box 84936
                                            Lincoln, NE 68501-4936
                                            402 / 474-8000
                                            powerslaw@me.com
   4:22-cv-03253-JMG-MDN        Doc # 1-1    Filed: 11/23/22    Page 12 of 17 - Page ID # 16

                                Certificate of Service
    I hereby certify that on Thursday, October 20, 2022 I provided a true and correct copy of the
Praecipe-Summons/Alias to the following:


Signature: /s/ Powers,Vincent,M (Bar Number: 15866)
4:22-cv-03253-JMG-MDN       Doc # 1-1   Filed: 11/23/22    Page 13 of 17 - Page ID # 17
Image ID:
D00667425D02                                                           Doc. No.    667425

               IN THE DISTRICT COURT OF LANCASTER COUNTY, NEBRASKA
                      575 S. 10th Street - 3rd Floor
                      SEPARATE JUVENILE COURT-4th Floor
                      Lincoln             NE 68508


Joshua Busby v. Midlands Packaging Corporation
                                                                  Case ID: CI 22   3260


TO:   Midlands Packaging Corporation




You have been sued by the following plaintiff(s):

      Joshua Busby




Plaintiff's Attorney:      Vincent M Powers
Address:                   411 S 13th St Ste 300
                           P.O. 84936
                           Lincoln, NE 68501-4936
Telephone:                 (402) 474-8000

A copy of the complaint/petition is attached. To defend this lawsuit, an
appropriate response must be served on the parties and filed with the office of
the clerk of the court within 30 days of service of the complaint/petition. If
you fail to respond, the court may enter judgment for the relief demanded in the
complaint/petition.

Nebraska Supreme Court Rule 2-208 requires individuals involved in a case who
are not attorneys and representing themselves to provide their email address to
the court in order to receive notice by email from the court about the case.
Complete and return the attached form to the court if representing yourself.


Date:   OCTOBER 20, 2022      BY THE COURT:
                                                          Clerk




                                 Page 1 of 2
4:22-cv-03253-JMG-MDN      Doc # 1-1   Filed: 11/23/22   Page 14 of 17 - Page ID # 18
Image ID:
D00667425D02                                                        Doc. No.   667425

PLAINTIFF'S DIRECTIONS FOR SERVICE OF SUMMONS AND A COPY OF THE
COMPLAINT/PETITION ON:

         Midlands Packaging Corporation
         % Patrick D.Timmer,Registered Agent
         5825 South 14th Street ste 200
         Lincoln, NE 68512

Method of service:   Certified Mail

You are directed to make such service within ten days after the date of issue,
and file with the court clerk proof of service within ten days after the signed
receipt is received or is available electronically, whichever occurs first.




                              Page 2 of 2
        4:22-cv-03253-JMG-MDN     Doc # 1-1   Filed: 11/23/22   Page 15 of 17 - Page ID # 19


                                                                           Doc. No.   667425

                                 LANCASTER DISTRICT COURT
                             575 S. 10th Street - 3rd Floor
                             SEPARATE JUVENILE COURT-4th Floor
                             Lincoln             NE 68508
    To:
    Case ID: CI 22    3260 Busby v. Midlands Packaging Corporation




To: Midlands Packaging Corporation             From: Vincent M Powers
    % Patrick D.Timmer,Registered Agent              411 S 13th St Ste 300
    5825 South 14th Street ste 200                   P.O. 84936
    Lincoln, NE 68512                                Lincoln, NE 68501-4936
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                                                             Lincoln                                      NE       68508
      To:
      Case   ID:   CI            22            3260     Busby             v.     Midlands       Packaging                   Corporation

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To:   Midlands  Packaging Corporation                                                             From:            Vincent            M           Powers
      % Patrick D.Timmer,Registered Agent                                                                          411 S$ 13th                     St       Ste      300
      5825  South 14th Street                          ste          200                                            P.O. 84936
      Lincoln,   NE 68512                                                                                          Lincoln,                NE       68501-4936




                   ATTACH RE URN RECEIPT& Re URN TO COURT
                                                         A
   4:22-cv-03253-JMG-MDN        Doc # 1-1    Filed: 11/23/22   Page 17 of 17 - Page ID # 21

                                Certificate of Service
    I hereby certify that on Tuesday, November 01, 2022 I provided a true and correct copy of
the Return-Summons/Alias Summons to the following:


Signature: /s/ Powers,Vincent,M (Bar Number: 15866)
